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 1   GUTRIDE SAFIER LLP
     Seth A. Safier (State Bar No. 197427)
 2     seth@gutridesafier.com
     Marie A. McCrary (State Bar No. 262670)
 3     marie@gutridesafier.com
     Todd Kennedy (State Bar No. 250267)
 4     todd@gutridesafier.com
     Kali R. Backer (State Bar No. 342492)
 5     kali@gutridesafier.com
     100 Pine Street, Suite 1250
 6   San Francisco, CA 94111
     Telephone: (415) 639-9090
 7   Facsimile: (415) 449-6469
 8   Attorneys for Plaintiffs
 9                               UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11   VISHAL SHAH and CHRISTINE WILEY, on             CASE NO.
     behalf of themselves, the general public, and
12   those similarly situated,                       CLASS ACTION COMPLAINT FOR
                                                     INVASION OF PRIVACY; INTRUSION
13                                Plaintiffs,        UPON SECLUSION; WIRETAPPING IN
                                                     VIOLATION OF THE CALIFORNIA
14          v.                                       INVASION OF PRIVACY ACT
                                                     (CALIFORNIA PENAL CODE § 631); USE
15   MYFITNESSPAL, INC.,                             OF A PEN REGISTER IN VIOLATION OF
                                                     THE CALIFORNIA INVASION OF
16                                Defendant.         PRIVACY ACT (CALIFORNIA PENAL
                                                     CODE § 638.51); COMMON LAW FRAUD,
17                                                   DECEIT AND/OR
                                                     MISREPRESENTATION; UNJUST
18                                                   ENRICHMENT; AND TRESPASS TO
                                                     CHATTELS
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                                                     JURY TRIAL DEMANDED
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 1           Plaintiffs Vishal Shah and Christine Wiley (“Plaintiffs”) bring this action on behalf of
 2   themselves, the general public, and all others similarly situated against MyFitnessPal, Inc.
 3   (“Defendant” or “MyFitnessPal”). Plaintiffs’ allegations against Defendant are based upon
 4   information and belief, and upon investigation of Plaintiffs’ counsel, except for allegations
 5   specifically pertaining to Plaintiffs, which are based upon Plaintiffs’ personal knowledge.
 6                                           INTRODUCTION
 7           1.      This Class Action Complaint concerns an egregious privacy violation and total
 8   breach of consumer trust in violation of California law. When consumers visit Defendant’s
 9   website (www.myfitnesspal.com, the “Website”), Defendant displays to them a popup cookie
10   consent banner. Defendant’s cookie banner discloses that the Website uses cookies but expressly
11   gives users the option to control how they are tracked and how their personal data is used.
12   Defendant assures visitors that they can choose to “opt out of the use of certain cookies here[,]”
13   where the word “here” is a hyperlink that users can click or select, as shown in the following
14   screenshot:
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18           2.      Like most internet websites, Defendant designed the Website to include resources

19   and programming scripts from third parties that cause those parties to place cookies and other

20   similar tracking technologies on visitors’ browsers and devices and/or transmit cookies along

21   with user data. However, unlike other websites, Defendant’s Website offers consumers a choice

22   to browse without being tracked, followed, and targeted by third party data brokers and

23   advertisers. But, Defendant’s promises are outright lies, designed to lull users into a false sense

24   of security. Even after users elect to opt out of cookies by following the “here” link, then

25   adjusting all available settings to opt out of, decline, or reject all categories of cookies, including

26   Functional and Advertising cookies (other than those required for the operation of the Website),

27   Defendant surreptitiously causes several third parties—including Meta Platforms, Inc.

28   (Facebook), Google LLC (DoubleClick and Google Analytics), ByteDance Ltd. (TikTok),
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 1   Amazon.com, Inc. (c.amazon-adsystem), and The Trade Desk, Inc. (adsrvr.org) (the “Third
 2   Parties”)—to place and/or transmit cookies that track users’ website browsing activities and
 3   eavesdrop on users’ private communications on the Website.
 4          3.      Contrary to their express declination or rejection of cookies and tracking
 5   technologies on the Website, Defendant nonetheless caused cookies, including the Third Parties’
 6   cookies, to be sent to Plaintiffs and other visitors’ browsers, stored on their devices, and
 7   transmitted to the Third Parties along with user data. These third-party cookies permitted the
 8   Third Parties to track and collect data in real time regarding Website visitors’ behaviors and
 9   communications, including their browsing history, visit history, website interactions, user input
10   data, demographic information, interests and preferences, shopping behaviors, device
11   information, referring URLs, session information, user identifiers, and/or geolocation data.
12          4.      The Third Parties analyze and aggregate this user data across websites and time
13   for their own purposes and financial gain, including, creating consumer profiles containing
14   detailed information about a consumer’s behavior, preferences, and demographics; creating
15   audience segments based on shared traits (such as Millennials, tech enthusiasts, etc.); and
16   performing targeted advertising and marketing analytics. Further, the Third Parties share user
17   data and/or user profiles to unknown parties to further their financial gain.
18          5.      This type of tracking and data sharing is exactly what the Website visitors who
19   clicked or selected the “here” link on the Website’s cookie consent banner, then adjusted all
20   available settings to decline or reject all such cookies, sought to avoid. Defendant falsely told
21   Website users that they could “opt out” of the use and placement of such cookies, or otherwise
22   “choose” whether such cookies are used on the Website, thereby avoiding tracking and data
23   sharing when they browsed the Website. Despite receiving notice of consumers’ express
24   declination of consent, Defendant defied it and violated state statutes, and tort duties.
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 1                                            THE PARTIES
 2          6.      Plaintiff Vishal Shah is, and was at all relevant times, an individual and resident
 3   of San Jose, California. Plaintiff Shah intends to remain in California and makes his permanent
 4   home there.
 5          7.      Plaintiff Christine Wiley is, and was at all relevant times, an individual and
 6   resident of California. Plaintiff Wiley intends to remain in California and makes her permanent
 7   home there.
 8          8.      Defendant MyFitnessPal, Inc. is a Delaware corporation with its headquarters and
 9   principal place of business in Austin, Texas.
10                                   JURISDICTION AND VENUE
11          9.      This Court has jurisdiction over the subject matter of this action pursuant to 28
12   U.S.C. § 1332(d)(2). The aggregate amount in controversy exceeds $5,000,000, exclusive of
13   interest and costs; and Plaintiffs and Defendant are citizens of different states.
14          10.     The injuries, damages and/or harm upon which this action is based, occurred or
15   arose out of activities engaged in by Defendant within, affecting, and emanating from, the State
16   of California. Defendant regularly conducts and/or solicits business in, engages in other
17   persistent courses of conduct in, and/or derives substantial revenue from products and services
18   provided to persons in the State of California. Defendant has engaged, and continues to engage,
19   in substantial and continuous business practices in the State of California.
20          11.     Further, the Private Communications and data which Defendant causes to be
21   transmitted to Third Parties are routed through servers located in California.
22          12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
23   substantial part of the events or omissions giving rise to the claims occurred in the state of
24   California, including within this District.
25          13.     Plaintiffs accordingly allege that jurisdiction and venue are proper in this Court.
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 1                         WEBSITE TERMS AND CONDITIONS OF USE
 2          14.     The Website contains a Terms and Conditions of Use (“Terms”) with an
 3   arbitration provision purporting to require “any and all disputes” between website visitors and
 4   Defendant to be resolved by binding arbitration. However, no agreement to arbitrate was ever
 5   formed between either of the Plaintiffs and Defendant.
 6          15.     The Website’s Terms are available on the Website but accessible only via an
 7   inconspicuous link displayed in small font at the bottom of the Website after all the main content.
 8   Moreover, Defendant does not require Website users to read or agree to the Terms before
 9   browsing the Website. In fact, Website users cannot even interact with the Website (to see the
10   link to the Terms or to review the Terms) until a user makes their cookie preference selection in
11   the cookie consent banner.
12          16.     When Plaintiffs visited the Website, they did not see or otherwise assent to the
13   Terms before choosing to reject all cookies in the Your Choices window, except the “Required
14   Cookies,” which Plaintiffs were unable to reject, before proceeding to browse the Website.
15   Plaintiffs did not sign up for an account on the Website or the digital app. Accordingly, Plaintiffs
16   made no agreement to arbitrate their privacy claims.
17                                 SUBSTANTIVE ALLEGATIONS
18          A.      Defendant Programmed the Website to Include Third-Party Resources that
19                  Utilize Cookie Trackers.
            17.     Every website, including the Website, is hosted by a server that sends and
20
     receives communications in the form of HTTP requests, such as “GET” or “POST” requests, to
21
     and from Internet users’ browsers. For example, when a user clicks on a hyperlink on the
22
     Website, the user’s browser sends a “GET” request to the Website’s server. The GET request
23
     tells the Website server what information is being requested (e.g., the URL of the webpage being
24
     requested) and instructs the Website’s server to send the information back to the user (e.g., the
25
     content of the webpage being requested). When the Website server receives an HTTP request, it
26
     processes that request and sends back an HTTP response. The HTTP request includes the client’s
27
     IP address so that the Website server to knows where to send the HTTP response.
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 1              18.   An IP address (Internet Protocol address) is a unique numerical label assigned to
 2   each device connected to a network that uses the Internet Protocol for communication, typically
 3   expressed as four sets of numbers separated by periods (e.g., 192.168.123.132 for IPv4
 4   addresses). IP addresses can identify the network a device is on and the specific device within
 5   that network. Public IP addresses used for internet-facing devices reveal geographical locations,
 6   such as country, city, or region, through IP geolocation databases.
 7              19.   As a result, Defendant knew that the device or devices used by Plaintiffs and
 8   Class members to access the Website were located in California.
 9              20.   Defendant voluntarily integrated “third-party resources” from the Third Parties
10   into its Website programming. “Third-party resources” refer to tools, content or services
11   provided by third-parties, such as analytics tools, advertising networks, or payment processors,
12   that a website developer utilizes by embedding scripts, styles, media, or application
13   programming interface (API) into the website’s code. Defendant’s use of the third-party
14   resources on the Website is done so pursuant to agreements between Defendant and those Third
15   Parties.
16              21.   The Website causes users’ devices to store and/or transmit both first-party and
17   third-party tracking cookies. Cookies are small text files sent by a website server to a user’s web
18   browser and stored locally on the user’s device. As described below, cookies generally contain
19   a unique identifier which causes the website to recognize and differentiate individual users.
20   Cookie files are sent back to the website server along with HTTP requests, causing the website
21   to identify the device making the requests, and to record a session showing how the user interacts
22   with the website.
23              22.   First-party cookies are those that are placed on the user’s device directly by the
24   web server with which the user is knowingly communicating (in this case, the Website’s server).
25   First-party cookies are used to track users when they repeatedly visit the same website.
26              23.   A third-party cookie is set by a third-party domain/webserver (e.g.,
27   www.google.com; www.facebook.com; analytics.tiktok.com; etc.). When the user’s browser
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 1   loads a webpage (such as a webpage of the Website) containing embedded third-party resources,
 2   the third-parties’ programming scripts typically issue HTTP commands to determine whether
 3   the third-party cookies are already stored on the user’s device and to cause the user’s browser to
 4   store those cookies on the device if they do not yet exist. Third-party cookies include an identifier
 5   that allows the third-party to recognize and differentiate individual users across websites
 6   (including the Website) and across multiple browsing sessions.
 7          24.     As described further below, the third-party cookies stored on and/or loaded from
 8   users’ devices when they interact with the Website are transmitted to those third parties, causing
 9   them to surreptitiously track in real time and collect Website users’ personal information, such
10   as their browsing activities and private communications with Defendant, including the following:
11                  •       Browsing History: Information about the webpages a Website user visits,
12                  including the URLs, titles, and keywords associated with the webpages viewed,
13                  time spent on each page, and navigation patterns;
14                  •       Visit History: Information about the frequency and total number of visits
15                  to the Website;
16                  •       Website Interactions: Data on which links, buttons, or ads on the
17                  Website that a user clicks;
18                  •       User Input Data: The information the user entered into the Website’s
19                  form fields, including search queries, the user’s name, age, gender, email address,
20                  location, and/or payment information;
21                  •       Demographic Information: Inferences about age, gender, and location
22                  based on browsing habits and interactions with Website content;
23                  •       Interests and Preferences: Insights into user interests based on the types
24                  of Website content viewed, products searched for, or topics engaged with;
25                  •       Shopping Behavior: Information about the Website products viewed or
26                  added to shopping carts;
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 1                  •       Device Information: Details about the Website user’s device, such as the
 2                  type of device (mobile, tablet, desktop), operating system, and browser type;
 3                  •       Referring URL: Information about the website that referred the user to
 4                  the Website;
 5                  •       Session Information: Details about the user’s current Website browsing
 6                  session, including the exact date and time of the user’s session, the session
 7                  duration and actions taken on the Website during that session;
 8                  •       User Identifiers: A unique ID that is used to recognize and track a
 9                  specific Website user across different websites over time; and/or
10                  •       Geolocation Data: General location information based on the Website
11                  user’s IP address or GPS data, if accessible, including whether the user is located
12                  in California.
13   (Collectively, the browsing activities and private communications listed in the bullet points
14   above shall be referred to herein as “Private Communications”).
15          25.     Third-party cookies can be used for a variety of purposes, including (i) analytics
16   (e.g., tracking and analyzing visitor behavior, user engagement, and effectiveness of marketing
17   campaigns); (ii) personalization (e.g., remembering a user’s browsing history and purchase
18   preferences to enable product recommendations); (iii) advertising/targeting (e.g., delivering
19   targeted advertisements based on the user’s consumer profile (i.e., an aggregated profile of the
20   user’s behavior, preferences, and demographics); and (iv) social media integration (e.g., enabling
21   sharing of users’ activities with social media platforms). Ultimately, third-party cookies are
22   utilized to boost website performance and revenue through the collection, utilization, and
23   dissemination of user data.
24          26.     Defendant’s primary product is a smartphone application and website of the same
25   name designed to help users track their calorie intake, exercise, and overall health and fitness
26   goals. Defendant owns and operates the Website, which promotes the smartphone application
27   and allows users to access certain application functions through the Website itself. As they
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 1   interact with the Website (e.g., by entering data into forms, clicking on links, and making
 2   selections), Website users communicate Private Communications to Defendant, including their
 3   browsing history, visit history, website interactions, user input data, demographic information,
 4   interests and preferences, shopping behaviors, device information, referring URLs, session
 5   information, user identifiers, and/or geolocation data.
 6           27.     Defendant chose to install or integrate its Website with resources from the Third
 7   Parties that, among other things, use cookies. Thus, when consumers visit the Website, both first-
 8   party cookies and third-party cookies are placed on their devices and/or transmitted. This is
 9   caused by software code that Defendant incorporates into its Website, or that Defendant causes
10   to be loaded. Because Defendant controls the software code of its Website, and is capable of
11   determining whether a user is accessing the Website from California, it has complete control
12   over whether first-party and third-party cookies are placed on its California users’ devices and/or
13   transmitted to third parties.
14           28.     Defendant explained the third-party cookies it used on the Website as follows in
15   its Privacy Policy:
16           Cookies serve a wide variety of purposes. Cookies are pieces of data stored in your
17           web browser that are transmitted to websites to remember your browser over time
             and distinguish it from other users. Cookies are used to personalize your web
18           experience and for security, analytics, marketing, and interest-based advertising.
             Our cookies are placed and read by our web servers, while other cookies are placed
19           and read by other companies’ webservers. Information on specific cookies is found
             on our website via the adchoices link. You can block and control cookies using the
20
             information noted in this section. If you block all cookies, certain functionality on
21           our Website will not work.

22           …
23           Pixels are extremely small image files that, when loaded by your web browser,
             cause the browser to make a network request to the party corresponding to the pixel.
24
             If that party’s cookies are currently stored in your browser, those cookies will be
25           transmitted with the request. Beacons can be used on web pages for advertising or
             to confirm the opening of a marketing email. When used in conjunction with
26           cookies for interest-based-advertising, the cookie controls above can be used to
             control the purpose for which they are used.
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 1            We use cookies, pixels (including email pixels), mobile device and advertising IDs,
 2            general location data, Fitness and Wellness Data, app or service usage data and data
              from third- party wearables, connected devices or sensors that integrate with our
 3            Services for purposes of interest-based and cross-app, cross-device advertising.1

 4            29.      Defendant also defines the categories of cookies in use on its Website in its

 5   Privacy Policy as follows:

 6            Required Cookies. These strictly necessary cookies are used for core functionality,
              and recognize when you are signed in, are necessary for security, and enforce your
 7
              privacy preferences. Without these cookies, some functionality on our Website may
 8            fail...

 9            Functional Cookies. These cookies help to improve the Website by allowing us to
              understand how the Website is used and how the Website performs. These cookies
10            include analytics and measurement...
11
              Advertising Cookies. These cookies help us and other parties personalize ads that
12            are shown to you on the Services, as well as on other websites. If enabled, these
              cookies will allow third parties engaged in interest-based advertising on our
13            Website to recognize your browser software on other websites too.
14
              30.      Defendant further defines the categories of cookies in use on its Website in its
15
     Your Choices Regarding Cookies on this Site window (the “Your Choices” window) which is
16
     presented to users when they click or select the “here” link in the popup cookie consent banner,
17
     as follows:
18

19            Required Cookies
              These cookies are required to enable core site functionality.
20
              Functional Cookies
21            These cookies allow us to analyze site usage so we can measure and improve
              performance.
22
23            Advertising Cookies
              These cookies are used by advertising companies to serve ads that are relevant to
24            your interests.

25
26   1
        MyFitnessPal Website Privacy Policy (Effective: December 18, 2020) (current version available at
27   https://www.myfitnesspal.com/privacy-policy) (the “Privacy Policy”). Defendant has subsequently updated its
     Privacy Policy but, based on information and belief, this version was in effect at the time of Plaintiffs’ choice to “opt
28   out” of cookies on the Website.
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 1          31.    Defendant also identified the specific third-party cookies in use on the Website
 2   for each category of cookies in its Your Choices window. In particular, Defendant identified
 3   only two providers of “Required Cookies” as shown in the following screenshot:
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            32.    Further, Defendant identified Facebook, Google, and Amazon as providers of
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     “Functional Cookies” in use on the Website as shown in the following screenshots:
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            33.     Additionally, Defendant identified Facebook, Google, Amazon, and TradeDesk
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     as providers of “Advertising Cookies” in use on the Website as shown in the following
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     screenshots:
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            34.     Defendant failed to disclose its use of TikTok cookies in any of the categories on
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     the Your Choices window but as alleged below, TikTok’s cookies are used for advertising
19
     purposes.
20
            B.      Defendant Falsely Informed Users That They Could ”Opt Out” of Certain
21                  Cookies in Use on the Website.
22          35.     When Plaintiffs and other consumers in California visited the Website, the
23   Website immediately displayed to them a popup cookie consent banner. As shown in the
24   screenshot below, the cookie consent banner stated, “We use first and third party cookies to make
25   our site work (Required Cookies), for analytics (Functional Cookies), and to personalize content
26   and ads (Advertising Cookies). You may opt out of the use of certain cookies here[,]” where the
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 1   word “here” was a hyperlink that users could select or click, as shown in the following screenshot
 2   from the Website:
 3
 4
 5
 6          36.     Plaintiffs and other Website users who indicated their choice and/or agreement to

 7   “opt out of the use of certain cookies” by clicking or selecting the “here” link were then directed

 8   to the Your Choices window, which further stated that users could “choose whether this site may

 9   use Functional and/or Advertising cookies[.]” The Your Choices window featured toggle

10   switches that users could adjust to opt out of, decline, or otherwise reject such cookies, along

11   with explanations of those cookies and examples of those cookies, as shown in these screenshots:

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            37.     Plaintiffs and other Website users who adjusted all available settings on the Your
19
     Choices window, indicating their choice and/or agreement to “opt out” of, decline, or reject all
20
     Functional and Advertising cookies and tracking technologies in use on the Website, could then
21
     continue to browse the Website, as the popup cookie consent banner and Your Choices window
22
     disappeared.
23
            38.     Defendant’s popup cookie consent banner and Your Choices window led
24
     Plaintiffs, and all those Website users similarly situated, to believe that they had opted out of,
25
     declined, or rejected all categories of cookies, including Functional and Advertising cookies,
26
     other than those required for the operation of the Website, especially those used “for
27
     analytics…and to personalize content and ads[.]” The banner and window further reasonably
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 1   led Plaintiffs and those Website users similarly situated to believe that Defendant would not
 2   allow third parties, through cookies, to access their Private Communications with the Website,
 3   including their browsing history, visit history, website interactions, user input data,
 4   demographic information, interests and preferences, shopping behaviors, device information,
 5   referring URLs, session information, user identifiers, and/or geolocation data, upon adjusting
 6   settings to “opt out” of, decline, or otherwise reject all categories of non-required cookies,
 7   including Functional and Advertising cookies, as described above.
 8          39.        Defendant’s representations, however, were false. In truth, Defendant did not
 9   abide by Plaintiffs’ or other users’ wishes. When Plaintiffs and other users selected or clicked
10   the “here” link, then adjusted all available settings to “opt out” of, decline, or reject non-
11   required cookies on the Your Choices window, they provided notice to Defendant that they did
12   not consent to the placement or transmission of third-party cookies that would allow those
13   parties to obtain their Private Communications with the Website. Nevertheless, Defendant
14   caused the Third-Party tracking cookies, including Functional and Advertising cookies, to be
15   placed on Website users’ browsers and devices and/or transmitted to the Third Parties along
16   with user data.
17          40.        In particular, when users clicked or selected the “here” link, then adjusted all
18   available settings on the Your Choices window to opt out of, decline, or reject non-required
19   cookies, Defendant nonetheless continued to cause the Third Parties’ cookies, including
20   Functional and Advertising cookies to be placed on users’ devices and/or transmitted to the Third
21   Parties along with user data, causing them to collect user data in real time that discloses Website
22   visitors’ Private Communications, including browsing history, visit history, website interactions,
23   user input data, demographic information, interests and preferences, shopping behaviors, device
24   information, referring URLs, session information, user identifiers, and/or geolocation data. In
25   other words, even when consumers like Plaintiffs tried to protect their privacy by opting out of
26   or rejecting cookies, Defendant failed to prevent cookies from being transmitted to Third Parties,
27   causing them to track user behavior and communications.
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 1          41.     Some aspects of the operations of the Third-Party cookies on the Website can be
 2   observed using specialized tools that log incoming and outgoing Website network transmissions.
 3   The following screenshots, obtained using one such tool, show examples of Third-Party cookies
 4   being transmitted from a Website user’s device and browser to Third Parties, even after the user
 5   selected or clicked the “here” link on the Website’s popup cookie consent banner and adjusted
 6   all available settings in the Your Choices window to opt out of, decline, or reject all categories
 7   of non-required cookies, including Functional and Advertising cookies:
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            42.    The screenshots above show the “Network” tab of Chrome Developer Tools,
24
     which contains a list of HTTP network traffic transmissions between the user’s browser and
25
     various third-party websites while the user visited and interacted with Defendant’s Website at
26
     https://www.myfitnesspal.com. The screenshots depict only network traffic occurring after the
27
     user opted out of, declined, or rejected all cookies using the Your Choices window. As shown
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 1   above, despite the user’s declination or rejection of all cookies, the user’s interactions with the
 2   Website resulted in the user’s browser making a large number of GET and POST HTTP requests
 3   to third party web domains like www.google.com; www.facebook.com; analytics.tiktok.com;
 4   insight.adsrvr.org; and others. As further shown in the right-hand column of the screenshots, the
 5   user’s browser sent cookies along with those HTTP requests to the third parties. These
 6
     screenshots demonstrate that the Website caused third-party cookie data and users’ Private
 7
     Communications to be transmitted to Third Parties, even after consumers declined or rejected all
 8
     such non-required cookies and tracking technologies by clicking or selecting the “here” link and
 9
     adjusting settings in the Your Choices window to decline or reject all non-required cookies,
10
     including Functional and Advertising cookies. All of these network calls are made to the Third
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     Parties without the user’s knowledge, and despite the user’s rejection of all cookies.
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            43.     Plaintiffs’ and other Website users’ Private Communications, including their
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     browsing history, visit history, website interactions, user input data, demographic information,
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     interests and preferences, shopping behaviors, device information, referring URLs, session
15
     information, user identifiers, and/or geolocation data, were surreptitiously obtained by the Third
16
     Parties via these cookies.
17
            44.     As users interact with the Website, even after clicking or selecting the “here” link,
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     then adjusting all available settings in the Your Choices window, thereby opting out of,
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     declining, or rejecting the use of cookies and similar technologies for analytics and
20
     advertisements, as well as the sale or sharing of the user’s personal information with third parties
21
     for such functions, or other purposes, more data regarding users’ behavior and communications
22
     are sent to third parties, alongside the cookie data. The third-party cookies that Defendant
23
     wrongfully allows to be stored on users’ devices and browsers, and to be transmitted to the Third
24
     Parties, cause the Third Parties to track and collect data on users’ behaviors and communications,
25
     including Private Communications, on the Website. Because third-party cookies cause Third
26
     Parties to track users’ behavior across the Internet and across time, user data can be correlated
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     and combined with other data sets to compile comprehensive user profiles that reflect
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 1   consumers’ behavior, preferences, and demographics (including psychological trends,
 2   predispositions, attitudes, intelligence, abilities, and aptitudes). These Third Parties monetize
 3   user profiles for advertising, sales, and marketing purposes to generate revenue and target
 4   advertising to Internet users. Advertisers can gain deep understanding of users’ behavioral traits
 5   and characteristics and target those users with advertisements tailored to their consumer profiles
 6   and audience segments.
 7              45.     The Third-Party code that the Website causes to be loaded and executed by the
 8   user’s browser becomes a wiretap when it is executed because it causes the Third Parties—
 9   separate and distinct entities from the parties to the conversations—to use cookies to eavesdrop
10   upon, record, extract data from, and analyze conversations to which they are not parties. When
11   the Third Parties use their respective wiretaps on Website users’ Private Communications, the
12   wiretaps are not like tape recorders or “tools” used by one party to record the other. The Third
13   Parties each have the capability to use the contents of conversations they collect through their
14   respective wiretaps for their own purposes as described in more detail below.
15              C.      The Private Communications Collected As a Result of Third Party Cookies
16                      Transmitted When Visiting Defendant’s Website.

17                      1.       Facebook Cookies
18              46.     Defendant causes third party cookies to be transmitted to and from Website users’
19   browsers and devices to and from the facebook.com domain, even after users elect to opt out of,
20   decline, or reject all non-required cookies (including Functional and Advertising cookies). This
21   domain is associated with Meta’s digital advertising and analytics platform that collects user
22   information via cookies to assist Meta in performing data collection, behavioral analysis, user
23   retargeting, and analytics.2 Meta serves targeted ads to web users across Meta’s ad network,
24   which spans millions of websites and apps.
25              47.     The facebook.com cookies help Meta track whether users complete specific
26   actions after interacting with an ad (e.g., clicking a link or making a purchase) and provide
27
     2
28       https://www.facebook.com/privacy/policies/cookies/.
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 1   analytic metrics that advertisers use to measure ad campaign performance. For example, data is
 2   sent to Meta via the Facebook domain when the user enters data about their weight loss goal,
 3   such as in the following instance:
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            48.     Here, the user has selected the “Food cravings” button, and in response, the
19
     following data is sent to Facebook:
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 1              49.      The “ev” parameter above tells Meta that the user clicked on a button, whereas
 2   the “cd[buttonText]” parameter tells Meta that the button’s text was “Food cravings.” Along
 3   with this data, cookie data is sent to Meta via the Facebook domain:
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12              50.      The “c_user” cookie shown above causes Facebook to identify a specific user
13   when they are logged in to their account. The “c_user” cookie stores a user’s unique ID, which
14   is associated with their Facebook profile. This ID causes Facebook to track user interactions on
15   its platform and across sites that use Facebook plugins, such as adding items to a cart, clicking
16   “Like” buttons, or engaging with comment sections. When combined with other data sent to the
17   Facebook domain, this cookie allows Meta to track users’ browsing activities. Facebook uses
18   this data for various purposes, such as personalizing content, enhancing ad targeting accuracy,
19   and refining its user experience.
20              51.      In particular, by identifying users who have shown interest in certain products or
21   content, the facebook.com cookies cause Meta’s advertising platform to enable advertisers to
22   show relevant ads to those users when they visit other websites within Meta’s ad network.3 These
23   cookies allow Meta to collect data on how users interact with websites, regardless of whether
24   they have a Facebook account or are logged in.4
25
26
27   3
         Id.; https://allaboutcookies.org/what-data-does-facebook-collect.
     4
28       https://allaboutcookies.org/what-data-does-facebook-collect.
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 1             52.   The facebook.com cookies allow Meta to obtain and store at least the following
 2   user data: (i) browsing history, (ii) visit history, (iii) website interactions, (iv) user input data, (v)
 3   demographic information, (vi) interests and preferences, (vii) shopping behaviors, (viii) device
 4   information, (ix) referring URLs, (x) session information, (xi) user identifiers, and (xii)
 5   geolocation data (including IP addresses)—including whether a user is located in California.5
 6             53.   Meta utilizes the data collected through the facebook.com cookies for its own
 7   purposes, including by using the data to tailor content and target advertisements to users. This
 8   includes practices such as (i) Ad Targeting and Retargeting, in which Meta uses the
 9   facebook.com cookie to track users’ online behavior across different sites, building a profile
10   based on their browsing habits, purchases, and interactions. This profile causes Facebook to
11   deliver highly targeted ads within the Facebook ecosystem and on other sites that are part of
12   Facebook’s Audience Network; (ii) Conversion Tracking, in which Meta uses the
13   facebook.com cookie to enable business partners to track specific actions users take after viewing
14   or clicking on a Facebook ad, such as making a purchase or signing up for a newsletter;
15   (iii) Audience Insights and Analytics, in which Meta uses the facebook.com cookie to provide
16   data to businesses on user demographics, interests, and behaviors across their sites and apps; and
17   (iv) Cross-Device and Cross-Platform Tracking, in which Meta uses the facebook.com cookie
18   to support tracking users across devices and platforms, so that ads are targeted consistently
19   regardless of the device a user is on. This ensures that advertisers can follow users across devices.
20             2.    Google Cookies
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               54.   Defendant also causes third party cookies to be transmitted to and from Website
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     users’ browsers and devices, even after users opt out of, decline, or reject all non-required
23
     cookies (including Functional and Advertising cookies) to and from the www.google.com,
24
25   doubleclick.net, analytics.google.com, and www.google-analytics.com domains. Each of

26   these domains is associated with Google LLC’s digital advertising and analytics platform that

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28       Id.
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     collects user information via cookies to assist Google in performing data collection, behavioral
 1
 2   analysis, user retargeting, and analytics. 6 Google serves targeted ads to web users across

 3   Google’s ad network, which spans millions of websites and apps. Nearly 20% of web traffic is

 4   tracked by Google’s DoubleClick cookies. 7 Google’s cookies help it track whether users
 5
     complete specific actions after interacting with an ad (e.g., clicking a link or making a purchase)
 6
     and provide analytic metrics that advertisers use to measure ad campaign performance. Further,
 7
     by identifying users who have shown interest in certain products or content, Google’s cookies
 8
     cause its advertising platform to enable advertisers to show relevant ads to those users when they
 9
10   visit other websites within Google’s ad network.8

11              55.      Specifically, Google sends cookies when a web user visits a webpage that shows
12   Google Marketing Platform advertising products and/or Google Ad Manager ads.9 “Pages with
13
     Google Marketing Platform advertising products or Google Ad Manager ads include ad tags that
14
     instruct browsers to request ad content from [Google’s] servers. When the server delivers the ad
15
     content, it also sends a cookie. But a page doesn’t have to show Google Marketing Platform
16
17   advertising products or Google Ad Manager ads for this to happen; it just needs to include

18   Google Marketing Platform advertising products or Google Ad Manager ad tags, which might

19   load a click tracker or impression pixel instead.” Id. As Google explains, “Google Marketing
20   Platform advertising products and Google Ad Manager send a cookie to the browser after any
21
     impression, click, or other activity that results in a call to our servers.” Id.
22
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     6
         See Our advertising and measurement cookies (available at https://business.safety.google/adscookies/).
24   7
         See, e.g. https://www.ghostery.com/whotracksme/trackers/doubleclick.
25   8
       See, e.g. About cross-channel remarketing in Search Ads 360 (available at
     https://support.google.com/searchads/answer/7189623?hl=en); About dynamic remarketing for retail (available at
26   https://support.google.com/google-ads/answer/6099158?hl=en&sjid=1196213575075458908-NC).
     9
27     See How Google Marketing Platform advertising products and Google Ad Manager use cookies (available at
     https://support.google.com/searchads/answer/2839090?hl=en&sjid=1196213575075458908-NC); see also Cookies
28   and user identification (available at https://developers.google.com/tag-platform/security/concepts/cookies).
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               56.      Google also uses cookies in performing analytical functions. As Google explains,
 1
 2   “Google Analytics is a platform that collects data from [] websites and apps to create reports that

 3   provide insights into [] business[es].”10 “To measure a website … [one] add[s] a small piece of

 4   JavaScript measurement code to each page on [a] site.” Id. Then, “[e]very time a user visits a
 5
     webpage, the tracking code will collect … information about how that user interacted with the
 6
     page.” Id. Google Analytics enables website owners to “measure when someone loads a page,
 7
     clicks a link, [ ] makes a purchase;” “completes a purchase”; “searches [] website or app”; “select
 8
     content on [] website or app”; “views an item”; and “views their shopping cart.”11
 9
10             57.      Google’s cookies allow it to obtain and store at least the following user data:

11   (i) browsing history, (ii) visit history, (iii) website interactions, (iv) user input data,
12   (v) demographic information, (vi) interests and preferences, (vii) shopping behaviors,
13
     (viii) device information, (ix) referring URLs, (x) session information, (xi) user identifiers, and
14
     (xii) geolocation data.12
15
               58.      For example, the Google software code that Defendant causes to be stored on and
16
17   executed by the Website user’s device causes the following data to be sent to Google’s

18   advertising domain, at td.doubleclick.net:

19
20
     10
21        How Google Analytics Works (available at https://support.google.com/analytics/answer/12159447?hl=en).
     11
       Set up events (available at https://developers.google.com/analytics/devguides/collection/ga4/events); and
22   Recommended events (available at https://developers.google.com/analytics/devguides/collection/ga4/events).
23   12
        See About the Google Tag (available at https://support.google.com/searchads/answer/7550511?hl=en); How
24   Floodlight Recognizes Users (available at https://support.google.com/searchads/answer/2903014?hl=en); How
     Google Ads tracks website conversions (available at https://support.google.com/google-ads/answer/7521212);
     Google Ads Help, Cookie: Definition (available at https://support.google.com/google-ads/answer/2407785?hl=en);
25   About demographic targeting in Google Ads (available at
     https://support.google.com/searchads/answer/7298581?hl=en&sjid=1196213575075458908-
26   NC&visit_id=638670675669576522-2267083756&ref_topic=7302618&rd=1); How Google Analytics Works
     (https://support.google.com/analytics/answer/12159447); Set up events (available at
27   https://developers.google.com/analytics/devguides/collection/ga4/events); and Recommended events (available at
     https://support.google.com/analytics/answer/9267735).
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22          59.    The “npa” parameter refers to “Non-Personalized Ads.” When npa is set to 1, it

23   indicates non-personalized ads preference is enabled. Here, npa is set to 0, indicating that

24   standard (personalized) ads are enabled. The “uap” and “uapv” parameters tell Google the

25   operating system and version the consumer is using, while the “uafvl” parameter discloses the

26   user’s browser.

27          60.    Along with this data, the following type of cookie data is sent to Google:

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10              61.      Google uses the “DSID” cookie to “identify a signed-in user on non-Google

11   sites.”13 The “IDE” cookie is used “to personalize the ads [users] see” and “to show Google ads

12   on non-Google sites.”14

13              62.      Finally, the data sent to Google contains the user’s user-agent and IP address—

14   which can be used to determine a user’s geolocation, including whether they are located in

15   California.

16              63.      Because Google’s cookies operate across multiple sites (i.e., cross-site tracking),

17   the cookie causes Google to track users as they navigate from one site to another, and to

18   comprehensively observe and evaluate user behavior online. Google’s advertising platform

19   aggregates user data to create consumer profiles containing detailed information about a

20   consumer’s behavior, preferences, and demographics and audience segments based on shared

21   traits (such as females, Millennials, Californians, etc.), and to perform targeted advertising and

22   marketing analytics.

23              64.      Thus, the Google cookies used on the Website cause Google to track Website

24   users’ interactions with advertisements to help advertisers understand how users engage with ads

25   across different websites. Further, the user data collected through the cookie enables the delivery

26
27   13
          https://policies.google.com/technologies/cookies?hl=en-US.
     14
28        Id.
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 1   of personalized ads based on user interests and behaviors. For instance, if a user frequently visits
 2   travel-related websites, Google will show her more travel-related advertisements. Further, the
 3   collected data is used to generate reports for advertisers, helping them assess the performance of
 4   their ad campaigns and make data-driven decisions (such as renaming their products). Further,
 5   Google’s advertising platform enables advertisers to retarget marketing, which Google explains
 6   allows advertisers to “show previous visitors ads based on products or services they viewed on
 7   your website. With messages tailored to your audience, dynamic remarketing helps you build
 8   leads and sales by bringing previous visitors back to your website to complete what they
 9   started.”15
10             65.      Further, in its “Shared Data Under Measurement Controller-Controller Data
11   Protection Terms,” Google states: “Google can access and analyze the Analytics data customers
12   share with us to better understand online behavior and trends, and improve our products and
13   services—for example, to improve Google search results, detect and remove invalid advertising
14   traffic in Google Ads, and test algorithms and build models that power services like Google
15   Analytics Intelligence that apply machine-learning to surface suggestions and insights for
16   customers based on their analytics data and like Google Ads that applies broad models to
17   improve ads personalization and relevance. These capabilities are critical to the value of the
18   products we deliver to customers today.”16 Thus, Google can have the capability to use the data
19   it collects for understanding online behavior and trends, machine learning, and improving its
20   own products and services.
21             3.       TikTok Cookies
22             66.      Defendant also causes third party cookies to be transmitted to and from Website
23   users’ browsers and devices, even after users elect to opt out of, decline, or reject all non-
24   required cookies, to and from the analytics.tiktok.com domain. This domain is associated with
25   TikTok for Business, a suite of tools offered by TikTok, a social media platform owned by
26
     15
          Dynamic remarketing for web setup guide (available at https://support.google.com/google-ads/answer/6077124).
27   16
        Shared Data Under Measurement Controller-Controller Data Protection Terms (available at
28   https://support.google.com/analytics/answer/9024351).
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 1   ByteDance Ltd., known for short-form video sharing.17 The TikTok platform is used to create
 2   and share videos, and it utilizes cookies for various purposes including assisting brands and
 3   marketers to create, manage, and optimize ad campaigns on the platform.18
 4              67.      TikTok utilizes analytics.tiktok.com cookies to collect data on user interactions
 5   with websites that have integrated TikTok’s tracking technologies (such as the Website). These
 6   cookies are used to “measure and improve the performance of your advertising campaigns and to
 7   personalize the user’s experience (including ads) on TikTok.”19 TikTok further explains that it
 8   uses cookies to “match events with people who engage with your content on TikTok. Matched
 9   events are used to improve measurement and optimize ad campaigns. They can also contribute to
10   building your retargeting and engagement audiences.” Id. These cookies cause TikTok to
11   recognize and track users across different sessions and domains (i.e., cross-site tracking) and to
12   collect and synchronize user data to observe and evaluate TikTok user behavior.
13              68.      These cookies cause TikTok to obtain and store at least the following user data:
14   (i) browsing history, (ii) visit history, (iii) website interactions, (iv) user input data, including
15   email addresses and phone numbers; (v) demographic information, (vi) interests and
16   preferences, (vii) shopping behaviors, (viii) device information, (ix) session information, (x) user
17   identifiers, and (xi) geolocation data in the form of the IP address.20
18              69.      For example, the TikTok software code that Defendant causes to be stored on and
19   executed by the Website user’s device causes the following type of data to be sent to TikTok’s
20   domain, at analytics.tiktok.com:
21
22   17
          See Our advertising and measurement cookies (available at https://business.safety.google/adscookies/).

23   18
        See, e.g., TikTok for Business (https://ads.tiktok.com/business/en-US/products/ads; and
     https://ads.tiktok.com/business/en-US/products/measurement); TikTok Business Help Center; Using Cookies with
24   TikTok Pixel (available at https://ads.tiktok.com/help/article/using-cookies-with-tiktok-pixel?lang=en).
25   19
         TikTok Business Help Center; Using Cookies with TikTok Pixel (available
26   ahttps://ads.tiktok.com/help/article/using-cookies-with-tiktok-pixel?lang=en).
     20
        Id.; see also TikTok for Business: Enhance Data Postback with the TikTok Pixel
27   (https://ads.tiktok.com/help/article/enhance-data-postback-with-the-tiktok-pixel?lang=en); TikTok for Business:
     Advanced Matching for Web (available at https://ads.tiktok.com/help/article/advanced-matching-web?redirected=1);
28   TikTok for Business: About TikTok Pixel (available at https://ads.tiktok.com/help/article/tiktok-pixel?lang=en).
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16              70.      The data includes the “session_id,” which is a unique identifier generated by

17   TikTok to track a user’s activity. This allows TikTok to correlate the user’s behavior from a

18   browsing session, including page views and conversions, to a particular user to enhance

19   advertising measurement, attribution, and targeting.21

20              71.      Along with this data, Defendant causes cookie data to be sent to TikTok, such as

21   the following:

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27
     21
28        See, e.g., How to get TikTok session id? (available at https://gbtimes.com/how-to-get-tiktok-session-id/).
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 1              72.   According to TikTok’s documentation, the “_ttp” cookie is one of the company’s
 2   advertising cookies, the purpose of which is “[t]o measure and improve the performance of your
 3   advertising campaigns and to personalize the user’s experience (including ads) on TikTok.”22
 4              73.   Finally, the data sent to TikTok includes the user’s user-agent and IP address,
 5   which can, among other things, allow Facebook to know that a user is located in California.
 6              74.   By collecting this user data, TikTok performs user behavior tracking, i.e.,
 7   monitoring user actions like page views, clicks, and interactions to understand user engagement;
 8   advertising optimization, i.e., gathering data to enhance the relevance and effectiveness of
 9   TikTok advertising campaigns; and performance measurement (i.e., assessing the success of
10   marketing efforts by analyze user responses to ads and content).23
11              75.   Further, TikTok’s Automatic Advanced Matching feature functions as follows:
12   “When a visitor lands on your website and inputs customer information during registration, sign-
13   in, contact, or checkout on a website where you installed your pixel, Automatic Advanced
14   Matching will capture information from those fields. …TikTok will use hashed information to
15   link event information to people on TikTok. Tiktok may use matched events to better attribute
16   events to TikTok ads, optimize advertisers’ future campaigns, and depending on advertisers’ and
17   users’ settings, TikTok may also add people to advertisers’ retargeting or engagement
18   audiences.”24
19              4.    Additional Third-Party Cookies
20              76.   Defendant also causes third party cookies to be transmitted to and from Website
21   users’ browsers and devices, even after users elect to opt out of, decline, or reject all non-required
22   cookies, to and from other domains, including amazon-adsystem.com and insight.adservr.org.
23
24
     22
       See TikTok for Business: Using Cookies with TikTok Pixel (available at https://ads.tiktok.com/help/article/using-
25   cookies-with-tiktok-pixel?lang=en).

26   23
          Id.
27   24
        TikTok for Business: How to set up Automatic Advanced Matching (available at
28   https://ads.tiktok.com/help/article/how-to-set-up-automatic-advanced-matching?lang=en).
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 1              77.     The c.amazon-adsystem.com domain is associated with Amazon’s advertising
 2   services. Amazon utilizes cookies to collect data on user interactions with websites (including
 3   browsing behavior and preferences) to perform advertising and personalization functions, i.e., to
 4   assist Amazon in delivering advertisements tailored to user interests. Further, the cookies
 5   perform analytics functions to enable Amazon to measure and analyze the performance of its
 6   services and to ensure that ads are effective and relevant.
 7              78.     The insight.adsrvr.org domain is associated with The Trade Desk, Inc., a digital
 8   advertising company that offers a cloud-based ad-buying platform that enables businesses to
 9   plan, manage, optimize, and measure data-driven digital advertising campaigns.25 The Trade
10   Desk uses insight.adsrvr.org cookies to collect data on users such as their geographic locations,
11   the type of device users are using, and users’ interests as inferred from their web browsing or
12   app usage activity.”26 This data helps The Trade Desk personalize ad content and track users
13   across the internet.27
14              79.     These cookies allow these Third Parties to obtain and store at least the following
15   user data: (i) browsing history, (ii) visit history, (iii) website interactions, (iv) demographic
16   information, (v) interests and preferences, (vi) shopping behaviors, (vii) device information,
17   (viii) referring URLs, (ix) session information, (x) user identifiers, and/or (xi) geolocation data.
18              D.      The Private Communications Collected are Valuable.
19
                80.     As part of its regular course of business, Defendant targets California consumers
20
     by causing the Third Parties to extract, collect, maintain, distribute, and exploit for Defendant’s
21
     and the Third Parties’ profit, all of the Private Communications transferred by the cookies which
22
     Defendant causes to be placed on Plaintiffs’ and other California Website users’ devices without
23
     their knowledge or consent. Defendant knew the location of consumers like Plaintiffs and the
24
25
26   25
          See The Trade Desk, Inc. 2023 Form 10-K (filed February, 15 2024).
27   26
          Id.
     27
28        Id.
                                                     - 42 -
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 1   Class members either prior to or shortly after causing the Third Parties to use cookies on their
 2   devices.
 3              81.     The Private Communications that the Third Parties track and collect by way of
 4   the cookies on the Website are valuable to Defendant as well as the Third Parties. Defendant can
 5   use the data to create and analyze the performance of marketing campaigns, website design,
 6   product placement, and target specific users or groups of users for advertisements. For instance,
 7   if Defendant wanted to market certain features of its fitness application, or related services, to
 8   consumers in California, Defendant could use the data collected by the Third Parties to monitor
 9   the location of users who visit webpages related to specific products, then advertise similar
10   products or services to those particular users when they visit other webpages. The third-party
11   cookies also enable Defendant to target online advertisements to users when they visit other
12   websites, even those completely unrelated to Defendant and its products or services.
13              82.     Data about users’ browsing history enables Defendant to spot patterns in users’
14   behavior on the Website and their interests in, among other things, Defendant’s fitness
15   application and specific features or services associated with the application. On a broader scale,
16   it enables Defendant to gain an understanding of trends happening across its brands and across
17   the nutrition and fitness application and services market. All of this helps Defendant further
18   monetize its Website and application and maximize revenue by collecting and analyzing user
19   data.
20              83.     The value of the Private Communications tracked and collected by the Third
21   Parties using cookies on the Website can be quantified. Legal scholars observe that “[p]ersonal
22   information is an important currency in the new millennium.”28 Indeed, “[t]he monetary value
23   of personal data is large and still growing, and corporate America is moving quickly to profit
24   from the trend.” Id. “Companies view this information as a corporate asset and have invested
25   heavily in software that facilitates the collection of consumer information.” Id.
26
27
     28
28        See Paul M. Schwartz, Property, Privacy and Personal Data, 117 Harv. L. Rev. 2055, 2056–57 (2004).
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 1            84.   Numerous empirical studies quantify the appropriate value measure for personal
 2   data. Generally, the value of personal data is measured as either the consumer’s willingness to
 3   accept compensation to sell her data or the consumer’s willingness to pay to protect her
 4   information.
 5            85.   Through its false representations and aiding, agreeing with, employing,
 6   permitting, or otherwise causing the Third Parties to track users’ Private Communications on the
 7   Website using third-party cookies, Defendant is unjustly enriching itself at the cost of consumer
 8   privacy and choice, when the consumer could otherwise have the ability to choose if and how
 9   they would monetize their data.
10                                       PLAINTIFFS’ EXPERIENCES
11            A. Plaintiff Vishal Shah
12            86.   Plaintiff Shah visited the Website to seek information about MyFitnessPal’s
13   products or services, while located in California, on one or more occasions during the last four
14   years.
15            87.   Plaintiff Shah’s visits to the Website were consistent with a typical Website user’s
16   visits seeking information about MyFitnessPal’s products and services. Specifically, Plaintiff
17   Shah is not a consumer advocate, a “tester,” or a compliance auditor that visited the Website to
18   test or evaluate Defendant’s privacy practices.
19            88.   When Plaintiff Shah visited the Website, the Website detected that he was a
20   visitor in California and immediately presented him with Defendant’s popup cookie consent
21   banner, which provided the option to opt out of certain cookies by clicking the “here” link.
22   Plaintiff Shah viewed Defendant’s representation on the popup cookie consent banner that, “We
23   use first and third party cookies to make our site work (Required Cookies), for analytics
24   (Functional Cookies), and to personalize content and ads (Advertising Cookies). You may opt
25   out of the use of certain cookies here.” Plaintiff Shah saw that the word “here” was a link that he
26   could click or select.
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 1          89.     Consistent with his typical practice in opting out of, rejecting, or otherwise
 2   declining the placement or use of cookies and tracking technologies, Plaintiff Shah selected and
 3   clicked the “here” link to opt out of the use and placement of cookies. In doing so, Plaintiff Shah
 4   was then directed to the Your Choices window, which further represented that users could
 5   “choose whether this site may use Functional and/or Advertising cookies[.]” Accordingly,
 6   Plaintiff Shah adjusted all available settings in the Your Choices window to the “[opt] OUT”
 7   position, indicating his choice/agreement to reject all cookies, including Functional and
 8   Advertising cookies, except the “Required Cookies” that Plaintiff Shah was unable to reject.
 9   Plaintiff Shah then clicked or selected the “Submit Preferences” button and continued to browse
10   the Website.
11          90.     Plaintiff Shah believed that selecting the “here” link on the popup cookie consent
12   banner and adjusting all available settings in the Your Choices window, would allow him to opt
13   out of, decline, and/or reject all non-required cookies and other tracking technologies (inclusive
14   of those cookies that cause the disclosure of tracking data to third-party advertising networks
15   and analytics services for the purposes of providing personalized content, advertising, and
16   analytics services).
17          91.     In selecting the “here” link and adjusting all available settings to opt out of,
18   decline, or reject cookies on the Your Choices window, Plaintiff Shah gave Defendant notice
19   that he did not consent to the use or placement of cookies and tracking technologies while
20   browsing the Website, other than those “Required” for the operation of the Website. Further,
21   Plaintiff Shah specifically opted out of, declined, or otherwise rejected, based on Defendant’s
22   representations, those cookies used “for analytics…and to personalize content and ads” and share
23   information with third parties. In reliance on these representations and promises, only then did
24   Plaintiff Shah continue browsing the Website.
25          92.     Even before the popup cookie consent banner appeared on the screen, Defendant
26   nonetheless caused cookies and tracking technologies, including those used for personalized
27   content, advertising, and analytics, to be placed on Plaintiff Shah’s device and/or transmitted to
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 1   the Third Parties along with user data, without Plaintiff Shah’s knowledge. Accordingly, the
 2   representations found on the popup cookie consent banner and Your Choices window, that
 3   Plaintiff Shah could ”opt out of the use of certain cookies” and “choose whether this site may
 4   use Functional and/or Advertising cookies” while he browsed the Website, were false. Contrary
 5   to what Defendant made Plaintiff Shah believe, he did not have a choice about whether third-
 6   party cookies would be placed on his device and/or transmitted to the Third Parties along with
 7   his user data; rather, Defendant had already caused that to happen.
 8          93.     Then, as Plaintiff Shah continued to browse the Website in reliance on the
 9   promises Defendant made in the cookie consent banner and Your Choices window, and, despite
10   Plaintiff Shah’s clear rejection of the use and/or placement of such cookies and tracking
11   technologies, Defendant nonetheless continued to cause the placement and/or transmission of
12   cookies along with user data, including those involved in providing personalized content,
13   advertising, and analytics from the Third Parties on his device. In doing so, Defendant permitted
14   the Third Parties to track and collect Plaintiff Shah’s Private Communications as Plaintiff Shah
15   browsed the Website.
16          94.     Defendant’s representations that consumers could “opt out of”, decline, or reject
17   all cookies, including Functional and Advertising cookies, other than those required for the
18   operation of the Website, while Plaintiff Shah and users browsed the Website, or at least opt out
19   of those cookies involved in providing personalized content, analytics, and advertising were
20   untrue. Had Plaintiff Shah known this fact, he would not have used the Website. Moreover,
21   Plaintiff Shah reviewed the popup cookie consent banner, Your Choices window, and Privacy
22   Policy prior to using the Website. Had Defendant disclosed that it would continue to cause
23   cookies and tracking technologies to be stored on consumers’ devices, even after they choose to
24   opt out of, decline, or otherwise reject all non-required cookies, Plaintiff Shah would have
25   noticed it and would not have used the Website or, at a minimum, he would have interacted with
26   the Website differently.
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 1            95.    Plaintiff Shah continues to desire to browse content featured on the Website.
 2   Plaintiff Shah would like to browse websites that do not misrepresent that users can opt out of,
 3   decline, or otherwise reject all non-required cookies and tracking technologies. If the Website
 4   were programmed to honor users’ requests to opt out of, decline, or otherwise reject all non-
 5   required cookies and tracking technologies, Plaintiff Shah would likely browse the Website
 6   again in the future, but will not do so until then. Plaintiff Shah regularly visits websites that
 7   feature content similar to that of the Website. Because Plaintiff Shah does not know how the
 8   Website is programmed, which can change over time, and because he does not have the technical
 9   knowledge necessary to test whether the Website honors users’ requests to opt out of, decline,
10   or reject all non-required cookies and tracking technologies, Plaintiff Shah will be unable to rely
11   on Defendant’s representations when browsing the Website in the future absent an injunction
12   that prohibits Defendant from making misrepresentations on the Website. The only way to
13   determine what network traffic is sent to third parties when visiting a website is to use a
14   specialized tool such as Chrome Developer Tools. As the name suggests, such tools are designed
15   for use by “developers” (i.e., software developers), whose specialized training enables them to
16   analyze the data underlying the HTTP traffic to determine what data, if any, is being sent to
17   whom. Plaintiff Shah is not a software developer and he has not received training with respect
18   to HTTP network calls.
19            B. Plaintiff Christine Wiley
20            96.    Plaintiff Wiley visited the Website to seek information about MyFitnessPal’s
21   products or services, while located in California, on one or more occasions during the last four
22   years.
23            97.    Plaintiff Wiley’s visits to the Website were consistent with a typical Website
24   user’s visits seeking information about MyFitnessPal’s products or services. Specifically,
25   Plaintiff Wiley is not a consumer advocate, a “tester,” or a compliance auditor that visited the
26   Website to test or evaluate Defendant’s privacy practices.
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 1           98.    When Plaintiff Wiley visited the Website, the Website immediately detected that
 2   she was a visitor in California and presented her with Defendant’s popup cookie consent banner,
 3   which provided the option to opt out of certain cookies by clicking the “here” link. Plaintiff
 4   Wiley viewed Defendant’s representation on the popup cookie consent banner that, “We use first
 5   and third party cookies to make our site work (Required Cookies), for analytics (Functional
 6   Cookies), and to personalize content and ads (Advertising Cookies). You may opt out of the use
 7   of certain cookies here.” Plaintiff Wiley saw that the word “here” was a link that she could click
 8   or select.
 9           99.    Consistent with her typical practice in opting out of, rejecting, or otherwise
10   declining the placement or use of cookies and tracking technologies, Plaintiff Wiley selected and
11   clicked the “here” link to opt out of the use and placement of cookies. In doing so, Plaintiff Wiley
12   was then directed to the Your Choices window, which further represented that users could
13   “choose whether this site may use Functional and/or Advertising cookies[.]” Accordingly,
14   Plaintiff Wiley adjusted all available settings in the Your Choices window to the “[opt] OUT”
15   position, indicating her choice/agreement to reject all cookies, including Functional and
16   Advertising cookies, except the “Required Cookies” that Plaintiff Wiley was unable to reject.
17   Plaintiff Wiley then clicked or selected the “Submit Preferences” button and continued to browse
18   the Website.
19           100.   Plaintiff Wiley believed that selecting the “here” link on the popup cookie consent
20   banner and adjusting all available settings in the Your Choices window, would allow her to opt
21   out of, decline, and/or reject all non-required cookies and other tracking technologies (inclusive
22   of those cookies that cause the disclosure of tracking data to third-party advertising networks
23   and analytics services for the purposes of providing personalized content, advertising, and
24   analytics services).
25           101.   In selecting the “here” link and adjusting all available settings to opt out of,
26   decline, or reject cookies on the Your Choices window, Plaintiff Wiley gave Defendant notice
27   that she did not consent to the use or placement of cookies and tracking technologies while
28
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 1   browsing the Website, other than those “Required” for the operation of the Website. Further,
 2   Plaintiff Wiley specifically opted out of, declined, or otherwise rejected, based on Defendant’s
 3   representations, those cookies used “for analytics…and to personalize content and ads” and share
 4   information with third parties. In reliance on these representations and promises, only then did
 5   Plaintiff Wiley continue browsing the Website.
 6          102.    Even before the popup cookie consent banner appeared on the screen, Defendant
 7   nonetheless caused cookies and tracking technologies, including those used for personalized
 8   content, advertising, and analytics, to be placed on Plaintiff Wiley’s device and/or transmitted to
 9   the Third Parties along with user data, without her knowledge. Accordingly, the representations
10   found on the popup cookie consent banner and Your Choices window, that Plaintiff Wiley could
11   “opt out of the use of certain cookies” and “choose whether this site may use Functional and/or
12   Advertising cookies” while she browsed the Website, were false. Contrary to what Defendant
13   made Plaintiff Wiley believe, she did not have a choice about whether third-party cookies would
14   be placed on her device and/or transmitted to the Third Parties along with her user data; rather,
15   Defendant had already caused that to happen.
16          103.    Then, as Plaintiff Wiley continued to browse the Website in reliance on the
17   promises Defendant made in the cookie consent banner and Your Choices window, and, despite
18   Plaintiff Wiley’s clear rejection of the use and/or placement of such cookies and tracking
19   technologies, Defendant nonetheless continued to cause the placement and/or transmission of
20   cookies along with user data, including those involved in providing personalized content,
21   advertising, and analytics from the Third Parties on her device. In doing so, Defendant permitted
22   the Third Parties to track and collect Plaintiff Wiley’s Private Communications as she browsed
23   the Website.
24          104.    Defendant’s representations that consumers could “opt out of”, decline, or reject
25   all cookies, including Functional and Advertising cookies, other than those required for the
26   operation of the Website, while Plaintiff Wiley and users browsed the Website, or at least opt
27   out of those cookies involved in providing personalized content, analytics, and advertising were
28
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 1   untrue. Had Plaintiff Wiley known this fact, she would not have used the Website. Moreover,
 2   Plaintiff Wiley reviewed the popup cookie consent banner, Your Choices window, and Privacy
 3   Policy prior to using the Website. Had Defendant disclosed that it would continue to cause
 4   cookies and tracking technologies to be stored on consumers’ devices, even after they choose to
 5   opt out of, decline, or otherwise reject all non-required cookies, Plaintiff Wiley would have
 6   noticed it and would not have used the Website or, at a minimum, she would have interacted
 7   with the Website differently.
 8          105.    Plaintiff Wiley continues to desire to browse content featured on the Website.
 9   Plaintiff Wiley would like to browse websites that do not misrepresent that users can opt out of,
10   decline, or otherwise reject all non-required cookies and tracking technologies. If the Website
11   were programmed to honor users’ requests to opt out of, decline, or otherwise reject all non-
12   required cookies and tracking technologies, Plaintiff Wiley would likely browse the Website
13   again in the future, but will not do so until then. Plaintiff Wiley regularly visits websites that
14   feature content similar to that of the Website. Because Plaintiff Wiley does not know how the
15   Website is programmed, which can change over time, and because she does not have the
16   technical knowledge necessary to test whether the Website honors users’ requests to opt out of,
17   decline, or reject all non-required cookies and tracking technologies, Plaintiff Wiley will be
18   unable to rely on Defendant’s representations when browsing the Website in the future absent
19   an injunction that prohibits Defendant from making misrepresentations on the Website. The only
20   way to determine what network traffic is sent to third parties when visiting a website is to use a
21   specialized tool such as Chrome Developer Tools. As the name suggests, such tools are designed
22   for use by “developers” (i.e., software developers), whose specialized training enables them to
23   analyze the data underlying the HTTP traffic to determine what data, if any, is being sent to
24   whom. Plaintiff Wiley is not a software developer and she has not received training with respect
25   to HTTP network calls.
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 1                                             CLASS ALLEGATIONS
 2          106.    Plaintiffs bring this Class Action Complaint on behalf of themselves and a
 3   proposed class of similarly situated persons, pursuant to Rules 23(b)(2) and (b)(3) of the Federal
 4   Rules of Civil Procedure. Plaintiffs seek to represent the following group of similarly situated
 5   persons, defined as follows:
 6
            Class: All persons who, while in the State of California, browsed the Website after
 7          clicking the “here” link in the popup cookies consent banner and adjusting all
            available settings in the “Your Choices” window to opt out of, decline, or reject all
 8          non-required cookies, including Functional and Advertising cookies.
 9          107.    This action has been brought and may properly be maintained as a class action
10   against Defendant because there is a well-defined community of interest in the litigation and the
11   proposed class is easily ascertainable.
12          108.    Numerosity: Plaintiffs do not know the exact size of the Class, but they estimate
13   that it is composed of more than 100 persons. The persons in the Class are so numerous that the
14   joinder of all such persons is impracticable and the disposition of their claims in a class action
15
     rather than in individual actions will benefit the parties and the courts.
16
            109.    Common Questions Predominate: This action involves common questions of
17
     law and fact to the Class because each class member’s claim derives from the same unlawful
18
     conduct that led them to believe that Defendant would not cause third-party cookies to be placed
19
     on their browsers and devices and/or transmitted to third parties along with user data, after Class
20
     members chose to opt out of, decline, or otherwise reject all non-required cookies and tracking
21
     technologies on the Website, nor would Defendant permit third parties to track and collect Class
22
     members’ Private Communications as Class members browsed the Website.
23
            110.    The common questions of law and fact predominate over individual questions, as
24
     proof of a common or single set of facts will establish the right of each member of the Class to
25
     recover. The questions of law and fact common to the Class are:
26
            a.      Whether Defendant’s actions violate California laws invoked herein; and
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 1           b.      Whether Plaintiffs and Class members are entitled to damages, restitution,
 2   injunctive and other equitable relief, reasonable attorneys’ fees, prejudgment interest and costs
 3   of this suit.
 4           111.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of
 5   the Class because, among other things, Plaintiffs, like the other Class members, visited the
 6
     Website, opted out of, declined, or otherwise rejected non-required cookies, and had their
 7
     confidential Private Communications intercepted by the Third Parties.
 8
             112.    Adequacy of Representation: Plaintiffs will fairly and adequately protect the
 9
     interests of all Class members because it is in their best interests to prosecute the claims alleged
10
     herein to obtain full compensation due to him for the unfair and illegal conduct of which they
11
     complain. Plaintiffs also have no interest in conflict with, or antagonistic to, the interests of Class
12
     members. Plaintiffs have retained highly competent and experienced class action attorneys to
13
     represent their interests and those of the Class. By prevailing on his claims, Plaintiffs will
14
     establish Defendant’s liability to all Class members. Plaintiffs and their counsel have the
15
     necessary financial resources to adequately and vigorously litigate this class action, and Plaintiffs
16
     and counsel are aware of their fiduciary responsibilities to the Class members and are determined
17
     to diligently discharge those duties by vigorously seeking the maximum possible recovery for
18

19   Class members.

20           113.    Superiority: There is no plain, speedy, or adequate remedy other than by

21   maintenance of this class action. The prosecution of individual remedies by members of the Class

22   will tend to establish inconsistent standards of conduct for Defendant and result in the

23   impairment of Class members’ rights and the disposition of their interests through actions to

24   which they were not parties. Class action treatment will permit a large number of similarly

25   situated persons to prosecute their common claims in a single forum simultaneously, efficiently,
26   and without the unnecessary duplication of effort and expense that numerous individual actions
27   would engender. Furthermore, as the damages suffered by each individual member of the Class
28
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 1   may be relatively small, the expenses and burden of individual litigation would make it difficult
 2   or impossible for individual members of the class to redress the wrongs done to them, while an
 3   important public interest will be served by addressing the matter as a class action. Plaintiffs are
 4   unaware of any difficulties that are likely to be encountered in the management of this action
 5   that would preclude its maintenance as a class action.
 6
                                               CAUSES OF ACTION
 7
 8                                  First Cause of Action: Invasion of Privacy

 9             114.   Plaintiffs reallege and incorporates the paragraphs of this Complaint as if set forth

10   herein.

11             115.   To plead an invasion of privacy claim, Plaintiffs must show an invasion of (i) a

12   legally protected privacy interest; (ii) where Plaintiffs had a reasonable expectation of privacy

13   in the circumstances; and (iii) conduct by Defendant constituting a serious invasion of privacy.

14             116.   Defendant has intruded upon the following legally protected privacy interests of

15   Plaintiffs and Class members: (i) the California Invasion of Privacy Act, as alleged herein;

16   (ii) the California Constitution, which guarantees Californians the right to privacy; (iii) the

17   California Wiretap Acts as alleged herein; (iv) Cal. Penal Code § 484(a), which prohibits the

18   knowing theft or defrauding of property “by any false or fraudulent representation or pretense;”

19   and (v) Plaintiffs’ and Class members’ Fourth Amendment right to privacy.

20             117.   Plaintiffs and Class members had a reasonable expectation of privacy under the

21   circumstances, as Defendant affirmatively promised users they could “opt out of the use of

22   certain cookies” and “choose whether this site may use Functional and/or Advertising cookies”

23   for “analytics…and to personalize content and ads[,]” among other purposes of the Functional

24   and Advertising cookies, and related tracking technologies, as described in the consent banner

25   and Your Choices window, and elsewhere, before users proceeded to browse the Website.

26   Plaintiffs and other Class members directed their electronic devices to access the Website and,

27   when presented with the popup cookies consent banner and Your Choices window on the

28   Website, Plaintiffs and Class members opted out of, declined, or otherwise rejected all non-
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 1   required cookies and reasonably expected that his and their choice to opt out of, decline, or
 2   otherwise reject such non-required cookies and tracking technologies would be honored. That is,
 3   they reasonably believed that Defendant would not permit the Third Parties to store and send
 4   cookies and/or use other such tracking technologies on their devices while they browsed the
 5   Website. Plaintiffs and Class members also reasonably expected that, if they opted out of,
 6   declined, or otherwise rejected such cookies and/or tracking technologies, Defendant would not
 7   permit the Third Parties to track and collect Plaintiffs’ and Class members’ Private
 8   Communications, including their browsing history, visit history, website interactions, user input
 9   data, demographic information, interests and preferences, shopping behaviors, device
10   information, referring URLs, session information, user identifiers, and/or geolocation data, on
11   the Website.
12           118.    Such information is “personal information” under California law, which defines
13   personal information as including “Internet or other electronic network activity information,”
14   such as “browsing history, search history, and information regarding a consumer’s interaction
15   with an internet website, application, or advertisement.” Cal. Civ. Code § 1798.140.
16           119.    Defendant, in violation of Plaintiffs’ and other Class members’ reasonable
17   expectation of privacy and without their consent, permits the Third Parties to use cookies and
18   other tracking technologies to collect, track, and compile users’ Private Communications,
19   including their browsing history, visit history, website interactions, user input data, demographic
20   information, interests and preferences, shopping behaviors, device information, referring URLs,
21   session information, user identifiers, and/or geolocation data. The data that Defendant allowed
22   third parties to collect enables the Third Parties to (and the Third Parties actually do), inter alia,
23   create consumer profiles containing detailed information about a consumer’s behavior,
24   preferences, and demographics; create audience segments based on shared traits (such as
25   millennials, tech enthusiasts, etc.); and perform targeted advertising and marketing analytics.
26   Further, the Third Parties share user data and/or the user profiles to unknown parties to further
27   their financial gain. The consumer profiles are and can be used to further invade Plaintiffs’ and
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 1   users’ privacy, by allowing third parties to learn intimate details of their lives, and target them
 2   for advertising and other purposes, as described herein, thereby harming them through the
 3   abrogation of their autonomy and their ability to control dissemination and use of information
 4   about them.
 5          120.    Defendant’s actions constituted a serious invasion of privacy in that it invaded a
 6   zone of privacy protected by the Fourth Amendment (i.e., one’s personal communications), and
 7   violated criminal laws on wiretapping and invasion of privacy. These acts constitute an egregious
 8   breach of social norms that is highly offensive.
 9          121.    Defendant’s intrusion into Plaintiffs’ privacy was also highly offensive to a
10   reasonable person.
11          122.    Defendant lacked a legitimate business interest in causing the placement and/or
12   transmission of third-party cookies along with user data that allowed the Third Parties to track,
13   intercept, receive, and collect Private Communications, including their browsing history, visit
14   history, website interactions, user input data, demographic information, interests and
15   preferences, shopping behaviors, device information, referring URLs, session information, user
16   identifiers, and/or geolocation data, without their consent.
17          123.    Plaintiffs and Class members have been damaged by Defendant’s invasion of
18   their privacy and are entitled to just compensation, including monetary damages.
19          124.    Plaintiffs and Class members seeks appropriate relief for that injury, including
20   but not limited to, damages that will compensate them for the harm to their privacy interests as
21   well as disgorgement of profits made by Defendant as a result of its intrusions upon Plaintiffs’
22   and Class members’ privacy.
23          125.    Plaintiffs and Class members seek punitive damages because Defendant’s
24   actions—which were malicious, oppressive, willful—were calculated to injure Plaintiffs and
25   Class members and made in conscious disregard of Plaintiffs’ and Class members’ rights and
26   Plaintiffs’ and Class members’ declination or rejection of the Website’s use of non-required
27   cookies. Punitive damages are warranted to deter Defendant from engaging in future misconduct.
28
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                              Second Cause of Action: Intrusion Upon Seclusion
 1
            126.    Plaintiffs reallege and incorporates by reference all paragraphs alleged herein.
 2
            127.    To assert a claim for intrusion upon seclusion, Plaintiffs must plead (i) that
 3
     Defendant intentionally intruded into a place, conversation, or matter as to which Plaintiffs had
 4
     a reasonable expectation of privacy; and (ii) that the intrusion was highly offensive to a
 5
     reasonable person.
 6
            128.    By permitting third-party cookies to be stored on consumers’ devices without
 7
     consent, which caused the Third Parties to track and collect Plaintiffs’ and Class members’
 8
     Private Communications, including their browsing history, visit history, website interactions,
 9
     user input data, demographic information, interests and preferences, shopping behaviors, device
10
     information, referring URLs, session information, user identifiers, and/or geolocation data, in
11
     violation of Defendant’s representations otherwise in the popup cookie consent banner,
12
     Defendant intentionally intruded upon the solitude or seclusion of Website users. Defendant
13
     effectively placed the Third Parties in the middle of communications to which they were not
14
     invited, welcomed, or authorized.
15
            129.    The Third Parties’ tracking and collecting of Plaintiffs’ and Class member’s
16
     Private Communications on the Website using third-party cookies that Defendant caused to be
17
     stored on users’ devices—and to be transmitted to Third Parties—was not authorized by
18
     Plaintiffs and Class members, and, in fact, those Website users specifically chose to opt out of,
19
     decline, or reject non-required cookies.
20
            130.    Plaintiffs and the Class members had an objectively reasonable expectation of
21
     privacy surrounding his and their Private Communications on the Website based on Defendant’s
22
     promise that users could opt out of, decline, or reject non-required cookies, as well as state
23
     criminal and civil laws designed to protect individual privacy.
24
            131.    Defendant’s intentional intrusion into Plaintiffs’ and other users’ Private
25
     Communications would be highly offensive to a reasonable person given that Defendant
26
     represented that Website users could ”opt out of” or “choose whether this site may use Functional
27
     and/or Advertising cookies” when, in fact, Defendant caused such third-party cookies to be
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 1   stored on consumers’ devices and browsers, and to be transmitted to third parties, even when
 2   consumers opted out of, declined, or rejected all such cookies. Indeed, Plaintiffs and Class
 3   members reasonably expected, based on Defendant’s false representations, that when they opted
 4   out of, declined, or rejected all non-required cookies and tracking technologies, Defendant would
 5   not cause such third-party cookies to be stored on his and their devices or permit the Third Parties
 6   to obtain their Private Communications on the Website, including their browsing history, visit
 7   history, website interactions, user input data, demographic information, interests and
 8   preferences, shopping behaviors, device information, referring URLs, session information, user
 9   identifiers, and/or geolocation data.
10          132.    Defendant’s conduct was intentional and intruded on Plaintiffs’ and users’ Private
11   Communications on the Website.
12          133.    Plaintiffs and Class members have been damaged by Defendant’s invasion of
13   their privacy and are entitled to just compensation, including monetary damages.
14          134.    Plaintiffs and Class members seeks appropriate relief for that injury, including
15   but not limited to, damages that will compensate them for the harm to their privacy interests as
16   well as disgorgement of profits made by Defendant as a result of its intrusions upon Plaintiffs’
17   and Class members’ privacy.
18          135.    Plaintiffs and Class members seek punitive damages because Defendant’s
19   actions—which were malicious, oppressive, willful—were calculated to injure Plaintiffs and
20   Class members and made in conscious disregard of Plaintiffs’ and Class members’ rights and
21   Plaintiffs’ and Class members’ declination or rejection of the Website’s use of non-required
22   cookies. Punitive damages are warranted to deter Defendant from engaging in future misconduct.
23             Third Cause of Action: Wiretapping in Violation of the California Invasion of
24                          Privacy Act (California Penal Code § 631)
            136.    Plaintiffs reallege and incorporate by reference all paragraphs alleged herein.
25
            137.    California Penal Code § 631(a) provides, in pertinent part:
26
27          “Any person who, by means of any machine, instrument, or contrivance, or
            in any other manner . . . willfully and without the consent of all parties to
28          the communication, or in any unauthorized manner, reads, or attempts to
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            read, or to learn the contents or meaning of any message, report, or
 1          communication while the same is in transit or passing over any wire, line,
            or cable, or is being sent from, or received at any place within this state; or
 2          who uses, or attempts to use, in any manner, or for any purpose, or to
            communicate in any way, any information so obtained, or who aids, agrees
 3          with, employs, or conspires with any person or persons to unlawfully do, or
            permit, or cause to be done any of the acts or things mentioned above in this
 4          section, is punishable by a fine not exceeding two thousand five hundred
            dollars . . . .”
 5
            138.    The California Supreme Court has repeatedly stated an “express objective” of
 6
     CIPA is to “protect a person placing or receiving a call from a situation where the person on the
 7
     other end of the line permits an outsider to tap his telephone or listen in on the call.” Ribas v.
 8
     Clark, 38 Cal. 3d 355, 364 (1985) (emphasis added).
 9
            139.    Further, as the California Supreme Court has held, in explaining the legislative
10
     purpose behind CIPA:
11
12          While one who imparts private information risks the betrayal of his confidence by
            the other party, a substantial distinction has been recognized between the
13          secondhand repetition of the contents of a conversation and its simultaneous
            dissemination to an unannounced second auditor, whether that auditor be a person
14          or mechanical device.
15          As one commentator has noted, such secret monitoring denies the speaker an
16          important aspect of privacy of communication— the right to control the nature and
            extent of the firsthand dissemination of his statements.
17
     Ribas, 38 Cal. 3d at 360-61 (emphasis supplied; internal citations omitted).
18
            140.    CIPA § 631(a) imposes liability for “distinct and mutually independent patterns
19
     of conduct.” Tavernetti v. Superior Ct., 22 Cal. 3d 187, 192-93 (1978). Thus, to establish liability
20
     under § 631(a), Plaintiffs need only establish that Defendant, “by means of any machine,
21
     instrument, contrivance, or in any other manner,” did any of the following:
22
            [i] Intentionally taps, or makes any unauthorized connection, whether physically,
23          electrically, acoustically, inductively or otherwise, with any telegraph or telephone wire,
            line, cable, or instrument, including the wire, line, cable, or instrument of any internal
24          telephonic communication system;

25          [ii] Willfully and without the consent of all parties to the communication, or in any
            unauthorized manner, reads or attempts to read or learn the contents or meaning of any
26          message, report, or communication while the same is in transit or passing over any wire,
            line or cable or is being sent from or received at any place within this state;
27
            [iii] Uses, or attempts to use, in any manner, or for any purpose, or to communicate in
28          any way, any information so obtained
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 1   Cal. Penal Code § 631(a).
 2            141.   CIPA § 631(a) also penalizes those who [iv] “aid[], agree[] with, employ[], or
 3   conspire[] with any person” who conducts the aforementioned wiretapping, or those who
 4   “permit” the wiretapping.
 5            142.   Defendant is a “person” within the meaning of California Penal Code § 631.
 6            143.   Section 631(a) is not limited to phone lines, but also applies to “new
 7   technologies” such as computers, the Internet, and email. See Matera v. Google Inc., 2016 WL
 8   8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be
 9   construed broadly to effectuate its remedial purpose of protecting privacy); see also Bradley v.
10   Google, Inc., 2006 WL 3798134, at *5–6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic
11   communications”); Javier v. Assurance IQ, LLC, 2022 WL 1744107, at *1 (9th Cir. May 31,
12   2022) (“Though written in terms of wiretapping, Section 631(a) applies to Internet
13   communications.”).
14            144.   The Third Parties’ cookies—as well as the software code of the Third Parties
15   responsible for placing the cookies and transmitting data from user devices to the Third Parties—
16   constitute “machine[s], instrument[s], or contrivance[s]” under the CIPA (and, even if they do
17   not, Defendant’s deliberate and purposeful scheme that facilitated the interceptions falls under
18   the broad statutory catch-all category of “any other manner”).
19            145.   Each of the Third Parties is a “separate legal entity that offers [a] ‘software-as-a-
20   service’ and not merely a passive device.” Saleh v. Nike, Inc., 562 F. Supp. 3d 503, 520 (C.D.
21   Cal. 2021). Further, the Third Parties had the capability to use the wiretapped information for
22   their own purposes and, as alleged above, they did in fact use the wiretapped information for
23   their own business purposes. Accordingly, the Third Parties were third parties to any
24   communication between Plaintiffs and Class members, on the one hand, and Defendant, on the
25   other. Id. at 521; see also Javier v. Assurance IQ, LLC, 649 F. Supp. 3d 891, 900 (N.D. Cal.
26   2023).
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 1          146.    Under § 631(a), Defendant must show it had the consent of all parties to a
 2   communication.
 3          147.    At all relevant times, the Website caused Plaintiffs and Class members’ browsers
 4   to store the Third Parties’ cookies and to transmit those cookies alongside Private
 5   Communications—including their browsing history, visit history, website interactions, user
 6   input data, demographic information, interests and preferences, shopping behaviors, device
 7   information, referring URLs, session information, user identifiers, and/or geolocation data—to
 8   the Third Parties without Plaintiffs’ and Class members’ consent. By configuring the Website in
 9   this manner, Defendant willfully aided, agreed with, employed, permitted, or otherwise caused
10   the Third Parties to wiretap Plaintiffs and Class members using the Third Parties’ cookies and to
11   accomplish the wrongful conduct alleged herein.
12          148.    At all relevant times, by their cookies and corresponding software code, the Third
13   Parties willfully and without the consent of all parties to the communication, or in any
14   unauthorized manner, read, attempted to read, and/or learned the contents or meaning of
15   electronic communications of Plaintiffs and Class members, on the one hand, and Defendant, on
16   the other, while the electronic communications were in transit or were being sent from or
17   received at any place within California.
18          149.    The Private Communications of Plaintiffs and Class members, on the one hand,
19   and Defendant, on the other, that the Third Parties automatically intercepted directly
20   communicates the Website user’s affirmative decisions, actions, choices, preferences, and
21   activities, which constitute the “contents” of electronic communications, including their
22   browsing history, visit history, website interactions, user input data, demographic information,
23   interests and preferences, shopping behaviors, device information, referring URLs, session
24   information, user identifiers, and/or geolocation data.
25          150.    At all relevant times, the Third Parties used or attempted to use the Private
26   Communications automatically intercepted by their cookie tracking technologies for their own
27   purposes.
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 1           151.    Plaintiffs and Class members did not provide their prior consent to the Third
 2   Parties’ intentional access, interception, reading, learning, recording, collection, and usage of
 3   Plaintiffs’ and Class members’ electronic communications. Nor did Plaintiffs and Class members
 4   provide their prior consent to Defendant aiding, agreeing with, employing, permitting, or
 5   otherwise causing the Third Parties’ conduct. On the contrary, Plaintiffs and Class members
 6   expressly declined to allow Third Parties’ cookies and tracking technologies to access, intercept,
 7   read, learn, record, collect, and use Plaintiffs’ and Class members’ electronic communications
 8   by choosing to opt out of, decline, or reject non-required cookies in the Your Choices window.
 9           152.    The wiretapping of Plaintiffs and Class members occurred in California, where
10   Plaintiffs and Class members accessed the Website and where the Third Parties—as caused by
11   Defendant—routed Plaintiffs’ and Class members’ electronic communications to Third Parties’
12   servers. Among other things, the cookies, as well as the software code responsible for placing
13   the cookies and transmitting them and other Private Communications to the Third Parties, resided
14   on Plaintiffs’ California-located device. In particular, the user’s California-based device, after
15   downloading the software code from the Third Parties’ servers, (i) stored the code onto the user’s
16   disk; (ii) converted the code into machine-executable format; and (iii) executed the code, causing
17   the transmission of data (including cookie data) to and from the Third Parties.
18           153.    Plaintiffs and Class members have suffered loss by reason of these violations,
19   including, but not limited to, (i) violation their right to privacy, (ii) loss of value in their Private
20   Communications, (iii) damage to and loss of Plaintiffs’ and Class members’ property right to
21   control the dissemination and use of their Private Communications, and (iv) loss of their Private
22   Communications to the Third Parties with no consent.
23           154.    Pursuant to California Penal Code § 637.2, Plaintiffs and Class members have
24   been injured by the violations of California Penal Code § 631, and each seeks statutory damages
25   of the greater of $5,000, or three times the amount of actual damages, for each of Defendant’s
26   violations of CIPA § 631(a), as well as injunctive relief.
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 1             155.   Unless enjoined, Defendant will continue to commit the illegal acts alleged herein
 2   including, but not limited to, permitting third parties to access, intercept, read, learn, record,
 3   collect, and use Plaintiffs’ and Class members’ electronic Private Communications with
 4   Defendant. Plaintiffs, Class members, and the general public continue to be at risk because
 5   Plaintiffs, Class members, and the general public frequently use the internet to search for
 6   information and content related to fitness and nutrition trackers and related products and services.
 7   Plaintiffs, Class members, and the general public continue to desire to use the internet for that
 8   purpose. Plaintiffs, Class members, and the general public have no practical way to know if their
 9   request to decline or reject non-required cookies and tracking technologies will be honored
10   and/or whether Defendant will permit third parties to access, intercept, read, learn, record,
11   collect, and use Plaintiffs’ and Class members’ electronic Private Communications with
12   Defendant. Further, Defendant has already permitted the Third Parties to access, intercept, read,
13   learn, record, collect, and use Plaintiffs’ and Class members’ electronic Private Communications
14   with Defendant and will continue to do so unless and until enjoined.
15                Fourth Cause of Action: Use of a Pen Register in Violation of the California
16                     Invasion of Privacy Act (California Penal Code § 638.51)
               156.   Plaintiffs reallege and incorporate by reference all paragraphs alleged herein.
17
               157.   The California Invasion of Privacy Act, codified at Cal. Penal Code §§ 630 to
18
     638, includes the following statement of purpose:
19
               The Legislature hereby declares that advances in science and technology have led
20             to the development of new devices and techniques for the purpose of
               eavesdropping upon private communications and that the invasion of privacy
21             resulting from the continual and increasing use of such devices and techniques
               has created a serious threat to the free exercise of personal liberties and cannot be
22             tolerated in a free and civilized society.
23             158.   California Penal Code Section 638.51(a) proscribes any “person” from
24   “install[ing] or us[ing] a pen register or a trap and trace device without first obtaining a court
25   order.”
26             159.    A “pen register” is a “a device or process that records or decodes dialing, routing,
27   addressing, or signaling information transmitted by an instrument or facility from which a wire
28
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 1   or electronic communication is transmitted, but not the contents of a communication.” Cal. Penal
 2   Code § 638.50(b).
 3          160.    The Third Parties’ cookies and the corresponding software code installed by
 4   Defendant on its Website are each “pen registers” because they are “device[s] or process[es]”
 5   that “capture[d]” the “routing, addressing, or signaling information”—including, the IP address
 6   and user-agent information—from the electronic communications transmitted by Plaintiffs’ and
 7   the Class’s computers or devices. Cal. Penal Code § 638.50(b).
 8          161.    At all relevant times, Defendant caused the Third Parties’ cookies and the
 9   corresponding software code—which are pen registers—to be placed on Plaintiffs’ and Class
10   members’ browsers and devices, and/or to be used to transmit Plaintiffs’ and Class members’ IP
11   address and user-agent information. See Greenley v. Kochava, 2023 WL 4833466, at *15-16
12   (S.D. Cal. July 27, 2023); Shah v. Fandom, Inc., 2024 U.S. Dist. LEXIS 193032, at *5-11 (N.D.
13   Cal. Oct. 21, 2024).
14          162.    Some of the information collected by the Third Parties’ cookies and the
15   corresponding software, including IP addresses and user-agent information, does not constitute
16   the content of Plaintiffs’ and the Class members’ electronic communications with the Website.
17   In re Zynga Privacy Litig., 750 F.3d 1098, 1008 (9th Cir. 2014). (“IP addresses constitute
18   addressing information and do not necessarily reveal any more about the underlying contents of
19   communication…”) (cleaned up).
20          163.    Plaintiffs and Class members did not provide their prior consent to Defendant’s
21   use of third-party cookies and the corresponding software. On the contrary, Plaintiffs and the
22   Class members informed Defendant that they did not consent to the Website’s use of third-party
23   cookies by clicking the “here” link in the cookie consent banner and adjusting all available
24   settings to opt out of, decline, or reject non-required cookies in the Your Choices window.
25          164.    Defendant did not obtain a court order to install or use the third-party cookies and
26   corresponding software to track and collect Plaintiffs’ and Class member’s IP addresses and
27   user-agent information.
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 1          165.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class
 2   members suffered losses and were damaged in an amount to be determined at trial.
 3          166.    Pursuant to Penal Code § 637.2(a)(1), Plaintiffs and Class members are also
 4   entitled to statutory damages of $5,000 for each of Defendant’s violations of § 638.51(a).
 5             Fifth Cause of Action: Common Law Fraud, Deceit and/or Misrepresentation
 6          167.    Plaintiffs reallege and incorporate by reference all paragraphs alleged herein.
 7          168.    Defendant fraudulently and deceptively informed Plaintiffs and Class members
 8   that they could ”opt out of” cookies or “choose whether this site may use Functional and/or
 9   Advertising cookies[.]”
10          169.    However, despite Defendant’s representations otherwise, Defendant caused third-
11   party cookies and software code to be stored on consumers’ devices, and to be transmitted to the
12   Third Parties alongside Private Communications, even after users clicked the “here” link in the
13   popup cookie consent banner. These cookies and corresponding software code allowed the Third
14   Parties to access, intercept, read, learn, record, collect, and use Plaintiffs’ and Class members’
15   Private Communications, even when consumers had previously chosen to opt out of, decline, or
16   reject non-required cookies.
17          170.    These misrepresentations and omissions were known exclusively to, and actively
18   concealed by Defendant, not reasonably known to Plaintiffs and Class members, and material at
19   the time they were made. Defendant knew, or should have known, how the Website functioned,
20   including the Third Party’s resources it installed on the Website and the third-party cookies in
21   use on the Website, through testing the Website, evaluating its performance metrics by means of
22   its accounts with the Third Parties, or otherwise, and knew, or should have known, that the
23   Website’s programming allowed the third-party cookies to be placed on users’—including
24   Plaintiffs’—browsers and devices and/or transmitted to the Third Parties along with users’
25   Private Communications even after users attempted to opt out of, decline, or reject non-required
26   cookies, which Defendant promised its users they could do. Defendant’s misrepresentations and
27   omissions concerned material facts that were essential to the analysis undertaken by Plaintiffs
28
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 1   and Class members as to whether to use the Website. In misleading Plaintiffs and Class members
 2   and not so informing them, Defendant breached its duty to Plaintiffs and Class members.
 3   Defendant also gained financially from, and as a result of, its breach.
 4          171.    Plaintiffs and Class members relied to their detriment on Defendant’s
 5   misrepresentations and fraudulent omissions.
 6          172.    Plaintiffs and Class members have suffered an injury-in-fact, including the loss
 7   of money and/or property, as a result of Defendant’s unfair, deceptive, and/or unlawful practices,
 8   including the unauthorized interception of their Private Communications, including their
 9   browsing history, visit history, website interactions, user input data, demographic information,
10   interests and preferences, shopping behaviors, device information, referring URLs, session
11   information, user identifiers, and/or geolocation data, which have value as demonstrated by the
12   use and sale of consumers’ browsing activity, as alleged above. Plaintiffs and Class members
13   have also suffered harm in the form of diminution of the value of their private and personally
14   identifiable information and communications.
15          173.    Defendant’s actions caused damage to and loss of Plaintiffs’ and Class members’
16   property right to control the dissemination and use of their personal information and
17   communications.
18          174.    Defendant’s representation that consumers could opt out of, decline, or reject
19   non-required cookies (including those used “for analytics (Functional Cookies), and to
20   personalize content and ads (Advertising Cookies)”) if they adjusted all available settings in the
21   Your Choices window was untrue. Again, had Plaintiffs and Class members known these facts,
22   they would not have used the Website. Moreover, Plaintiffs and Class members reviewed the
23   popup cookie consent banner and Your Choices window prior to their interactions with the
24   Website. Had Defendant disclosed that it caused third-party non-required cookies to be stored
25   on Website visitors’ devices that are related to personalization, advertising, and analytics and/or
26   share information with third parties even after they choose to opt out of, decline, or reject all
27
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 1   such non-required cookies, Plaintiffs and Class members would have noticed it and would not
 2   have interacted with the Website.
 3          175.    By and through such fraud, deceit, misrepresentations and/or omissions,
 4   Defendant intended to induce Plaintiffs and Class members to alter their positions to their
 5   detriment. Specifically, Defendant fraudulently and deceptively induced Plaintiffs and Class
 6   members to, without limitation, use the Website under the mistaken belief that Defendant would
 7   not permit third parties to obtain users’ Private Communications when consumers chose to opt
 8   out of, decline, reject non-required cookies. As a result, Plaintiffs and the Class provided more
 9   personal data than they would have otherwise.
10          176.    Plaintiffs and Class members justifiably and reasonably relied on Defendant’s
11   misrepresentations and omissions, and, accordingly, were damaged by Defendant’s conduct.
12          177.    As a direct and proximate result of Defendant’s misrepresentations and/or
13   omissions, Plaintiffs and Class members have suffered damages, as alleged above, and are
14   entitled to just compensation, including monetary damages.
15          178.    Plaintiffs and Class members seek punitive damages because Defendant’s
16   actions—which were malicious, oppressive, willful—were calculated to injure Plaintiffs and
17   Class members and made in conscious disregard of Plaintiffs’ and Class members’ rights and
18   Plaintiffs’ and Class members’ declination or rejection of the Website’s use of non-required
19   cookies. Punitive damages are warranted to deter Defendant from engaging in future misconduct.
20                                Sixth Cause of Action: Unjust Enrichment
21          179.    Plaintiffs reallege and incorporate by reference all paragraphs alleged herein.
22          180.    Defendant created and implemented a scheme to increase its own profits through
23   a pervasive pattern of false statements and fraudulent omissions.
24          181.    Defendant was unjustly enriched as a result of its wrongful conduct, including
25   through its misrepresentations that users could ”opt out of” or “choose whether this site may use
26   Functional and/or Advertising cookies” and by permitting the Third Parties to store and transmit
27   cookies on Plaintiffs’ and Class members’ devices and browsers, which permitted the Third
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 1   Parties to track and collect users’ Private Communications, including their browsing history,
 2   visit history, website interactions, user input data, demographic information, interests and
 3   preferences, shopping behaviors, device information, referring URLs, session information, user
 4   identifiers, and/or geolocation data, even after Class members rejected non-required cookies.
 5          182.    Plaintiffs and Class members’ Private Communications have conferred an
 6   economic benefit on Defendant.
 7          183.    Defendant has been unjustly enriched at the expense of Plaintiffs and Class
 8   members, and Defendant has unjustly retained the benefits of its unlawful and wrongful conduct.
 9          184.    Defendant appreciated, recognized, and chose to accept the monetary benefits that
10   Plaintiffs and Class members conferred onto Defendant at his and their detriment. These benefits
11   were the expected result of Defendant acting in its pecuniary interest at the expense of Plaintiffs
12   and Class members.
13          185.    It would be unjust for Defendant to retain the value of Plaintiffs’ and Class
14   members’ property and any profits earned thereon.
15          186.    There is no justification for Defendant’s enrichment. It would be inequitable,
16   unconscionable, and unjust for Defendant to be permitted to retain these benefits because the
17   benefits were procured as a result of its wrongful conduct.
18          187.    Plaintiffs and Class members are entitled to restitution of the benefits Defendant
19   unjustly retained and/or any amounts necessary to return Plaintiffs and Class members to the
20   position they occupied prior to having their Private Communications tracked and collected by
21   the Third Parties.
22          188.    Plaintiffs plead this claim separately, as well as in the alternative, to their other
23   claims, as without such claims Plaintiffs would have no adequate legal remedy.
24                              Seventh Cause of Action: Trespass to Chattels
25          189.    Plaintiffs reallege and incorporate by reference all paragraphs alleged herein.
26          190.    Defendant, intentionally and without consent or other legal justification, caused
27   cookies to be stored on Plaintiffs’ and Class members’ browsers and devices, which caused the
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 1   Third Parties and Defendant to track and collect Plaintiffs’ and Class members’ Private
 2   Communications and use the data collected for their own advantage, as described above.
 3          191.    Defendant was unjustly enriched as a result of its wrongful conduct, including
 4   through its misrepresentation that users could opt out of, decline, or reject all non-required
 5   cookies and tracking technologies, and through their failure to disclose that Defendant causes
 6   third-party cookies to be stored on consumers’ devices and browsers, which cause the Third
 7   Parties and Defendant to track and collect Plaintiffs’ and Class members’ Private
 8   Communications even after consumers chose to opt out of, decline, or reject such cookies.
 9          192.    Defendant intentionally caused third party software code to be stored onto
10   Plaintiffs’ and Class members’ devices, knowing that the code would be executed by those
11   devices. The software code then placed and/or transmitted cookies along with Plaintiffs’ and
12   Class members’ Private Communications to the Third Parties. These intentional acts interfered
13   with Plaintiffs’ and Class members’ use of the following personal property owned, leased, or
14   controlled by Plaintiffs and other users: (a) his and their computers and other electronic devices;
15   and (b) his and their personally identifiable information.
16          193.    Defendant’s trespass of Plaintiffs’ and other users’ computing devices resulted in
17   harm to Plaintiffs and other users and caused Plaintiffs and other users the following damages:
18          a.      Nominal damages for trespass;
19          b.      Reduction of storage, disk space, and performance of Plaintiffs’ and other users’
20   computing devices; and
21          c.      Loss of value of Plaintiffs’ and other users’ computing devices.
22                                      PRAYER FOR RELIEF
23          WHEREFORE, reserving all rights, Plaintiffs, on behalf of themselves and the Class
24   members, respectfully request judgment against Defendant as follows:
25          A.      Certification of the proposed Class, including appointment of Plaintiffs’ counsel
26   as class counsel;
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 1          B.      An award of compensatory damages, including statutory damages where
 2   available, to Plaintiffs and Class members against Defendant for all damages sustained as a result
 3   of Defendant’s wrongdoing, including both pre- and post-judgment interest thereon;
 4          C.      An award of punitive damages;
 5          D.      An award of nominal damages;
 6          E.      An order for full restitution;
 7          F.      An order requiring Defendant to disgorge revenues and profits wrongfully
 8   obtained;
 9          G.      An order temporarily and permanently enjoining Defendant from continuing the
10   unlawful, deceptive, fraudulent, and unfair business practices alleged in this Complaint;
11          H.      For reasonable attorneys’ fees and the costs of suit incurred; and
12          I.      For such further relief as may be just and proper.
13          Dated: May 22, 2025
                                                        GUTRIDE SAFIER LLP
14
                                                        /s/ Seth A. Safier
15                                                      Seth A. Safier (State Bar No. 197427)
                                                          seth@gutridesafier.com
16                                                      Marie A. McCrary (State Bar No. 262670)
                                                          marie@gutridesafier.com
17                                                      Todd Kennedy (State Bar No. 250267)
                                                          todd@gutridesafier.com
18                                                      Kali R. Backer (State Bar No. 342492)
                                                          kali@gutridesafier.com
19                                                      100 Pine Street, Suite 1250
                                                        San Francisco, CA 94111
20                                                      Telephone: (415) 639-9090
                                                        Facsimile: (415) 449-6469
21
                                                        Attorneys for Plaintiffs
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